Case 2:04-cr-20501-BBD Document 41 Filed 07/08/05 Page 1 of 2 PagelD 54

 

IN THE uNrTED sTATEs olsTRlcT couRT ma W- D~C~
FoR THE wEsTERN olsTRicT oF TENNEssEE _ -
wEsTERN olvlsloN 05 JUL '3 PH 'r= |3
u.s. whom
uN:TED sTATEs ol= AMERch w oF tit lewis

Plaintiff

VS.
CR. NO. 04-20501-D

ANTON|O STACKER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 11, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Thursda Ju| 21 2005 at 9:00 a.m.. in Courtroom 3, 9th F|oor of the

 

Federal Building, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this 8 day of Ju|y, 2005.

    

B N|CE B. D ALD
N|TED STATES D|STRlCT JUDGE

This document entered on the docket shee%iri compliance

with P,ule 25 an:'l_='or 32l_b) FRCrP on W‘ ii l Q /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

